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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  ALAN RACKEMANN,                                       )
                                                        )
                                Plaintiff,              )
                                                        )
                           v.                           )       No. 1:17-cv-00624-TWP-MJD
                                                        )
  LISNR, INC., et al.                                   )
                                                        )
                                Defendants.             )


                  ORDER ADOPTING REPORT AND RECOMMENDATION

         The Magistrate Judge submitted his Report and Recommendation [Dkt. 254] on Plaintiff’s

  Motion to Strike or Dismiss Counterclaims [Dkt. 193]. The parties were afforded due opportunity

  pursuant to statute and the rules of this Court to file objections; none were filed. The Court, having

  considered the Magistrate Judge’s Report and Recommendation, hereby adopts the Magistrate

  Judge’s Report and Recommendation. Plaintiff’s Motion to Strike or Dismiss Counterclaims [Dkt.

  193] is DENIED as MOOT.

         Date: 3/21/2018
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